      Case 1:25-mc-00018-SAB            Document 2          Filed 02/25/25    Page 1 of 2


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 8                                 UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

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11    IN RE:                                             No. 1:25-mc-00018-SAB
12                                                          ORDER DENYING REQUEST TO BE
                                                         EXEMPT FROM ELECTRONIC FILING
13    JAMIE OSUNA,                                       SYSTEM AND DIRECTING CLERK OF
                                                         COURT TO CLOSE ACTION
14
                                                                (ECF No. 1)
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            On February 24, 2025, the Court received a request from Jamie Osuna seeking relief from
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     the e-filing procedures. (ECF No. 1.)
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            In the motion requesting relief from e-filing, Mr. Osuna contends that because his
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     complaint involves the First, not Eighth Amendment, he seeks to be exempt from the requirement
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     to electronically file his complaint. However, Plaintiff is advised that pursuant to the Court’s
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     standing order, ALL civil rights complaints filed by prisoners involving conditions of
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     confinement must be electronically filed. As Mr. Osuna is incarcerated at Corcoran State Prison
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     and his complaint involves his conditions of confinement at Corcoran, he is subject to the
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     Standing Order in Re: Procedural Rules for Electronic Submission of Prison Litigation Filed by
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     Plaintiffs incarcerated at Participating Penal Institutions, issued on March 1, 2016. Pursuant to
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     the standing order, which applies to initial filings: (1) new complaints are subject to e-filing and
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                                                        1
      Case 1:25-mc-00018-SAB             Document 2            Filed 02/25/25   Page 2 of 2


 1   they may not exceed twenty-five pages in length; and (2) motions to proceed in forma pauperis,
 2   motions to increase the page limit, and motions for emergency relief shall be no more than fifteen
 3   (15) pages in total combined length. As a California Department of Corrections and
 4   Rehabilitation participating facility, no initial documents are accepted for filing by the Clerk of

 5   Court unless done pursuant to the standing order or the scanning equipment is inoperable for a

 6   period longer than forty-eight (48) hours.

 7            Mr. Osuna has not provided no basis to be exempt from the electronic filing requirement

 8   and he must comply with the normal procedures pursuant to the Court’s Standing Order to have

 9   his complaint electronically filed with this Court.

10            Accordingly, it is HEREBY ORDERED that:

11            1.      Mr. Osuna’s request to be exempt from the electronic filing system is DENIED;

12            2.      Mr. Osuna must comply with the Court’s Standing Order to have his complaint e-

13                    filed by this Court and the failure to do so will result in return of the complaint as

14                    not filed;
              3.      The Clerk of Court shall send Plaintiff a copy of his complaint at his current
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                      address of record; and
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              4.      The Clerk of Court is directed to close this action.
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     IT IS SO ORDERED.
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20   Dated:        February 25, 2025
                                                           STANLEY A. BOONE
21                                                         United States Magistrate Judge
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